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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


  UNITED STATES OF AMERICA

         v.                                             No. 19-cr-10195-WGY

  HAOYANG YU, et al.


                   MOTION IN LIMINE TO EXCLUDE EVIDENCE
              RE LEGAL MATTERS CONCERNING EXPORT CONTROLS

       Pursuant to Fed. R. Evid. 401, 403, 701, 702, and 703, Defendants Haoyang Yu and Tricon

MMIC, LLC respectfully request that the Court exclude evidence, including testimony by Carlos

Monroy, an official with the Department of Commerce’s Bureau of Industry and Security (“BIS”),

about the meaning of the Export Administration Regulations, 15 C.F.R. Part 730 et seq.; the

purpose of those export regulations; and their purported application to the MMIC-related

“technology” in this case. Such testimony on matters of law is plainly improper, and even if the

evidence were admissible, its limited probative value would be greatly outweighed by the risk of

unfair prejudice.

       At trial, in support of the export charges, the prosecution states that it will call Monroy

(1) to summarize, explain, and interpret export regulations; (2) to opine that the MMICs at issue,

TM5051 and TM5052, were “controlled” or classified as ECCN 3A001 and, therefore, that the

Graphic Design Systems II files (“GDS files”) associated with those chips were also “controlled”

or classified as ECCN 3E001, and (3) to describe the general purpose of export law (e.g., to

promote national security, to prevent nuclear proliferation, etc.) especially as it pertains to “dual-

use” items that serve civilian purposes but may also have military applications. See Ex. A (A. Beck

Letter (Dec. 6, 2021)) at 1-2.


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       Only this Court can instruct the jury on the relevant laws and regulations, and as an expert

witness, Monroy may not usurp that role. See Fed. R. Evid. 702, 703. “Expert testimony proffered

solely to establish the meaning of a law is presumptively improper.” United States v. Mikutowicz,

365 F.3d 65, 73 (1st Cir. 2004) (citing Nieves-Villaneuva v. Soto-Rivera, 133 F.3d 92, 99 (1st Cir.

1997) (“In our legal system, purely legal questions and instructions to the jury on the law to be

applied to the resolution of the dispute before them is exclusively the domain of the judge.”). “The

judge’s knowledge of the law makes an expert’s legal opinion at best cumulative and at worst

prejudicial when presented to the jury.” Moral v. UBS Fin. Servs., No. 08-1833 (PAD), 2014 U.S.

Dist. LEXIS 203633, at *5-6 (D.P.R. Dec. 3, 2014). Thus, the prosecution may not put Monroy on

the stand to summarize, explain, and interpret the EAR. Nor may Monroy recite definitions of

relevant terms, such as “technology,” directly from the Code of Federal Regulations.

       To the extent that the prosecution intends to have Monroy testify to his expert opinion that

the MMICs at issue, TM5051 and TM5052, or associated “technology,” such as GDS files, were

controlled by the EAR and, therefore, that exports to Taiwan required licenses, it has failed to

comply with Fed. R. Crim. P. 16(a)(1)(G). The prosecution has provided only a general summary

of Monroy’s anticipated testimony, but it has not described the “bases and reasons” for his

opinions. See United States v. Mahaffy, No. 05-cr-613 (ILG), 2007 U.S. Dist. LEXIS 30077, at *8

(E.D.N.Y. Apr. 24, 2007) (“Even if the disclosure provides a sufficient summary of any opinions

to be offered by the witness, it may be excluded if [the disclosing party] ‘has made no attempt at

all to describe the bases and reasons for those opinions as required by [Rule 16(a)(1)(G)].”)

(quoting United States v. Wilson, 493 F. Supp. 2d 484 (E.D.N.Y. 2006) (“It is well-settled that a

court may in its discretion preclude expert examination . . . regarding topics or opinions not

properly disclosed.”)). For example, it has not explained why Monroy believes that the MMICs at



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issue are classified under ECCN 3A001 or that the GDS files used to manufacture them are

classified under ECCN 3E001, or what about his supposed “review of the specifications sheets

describing Tricon parts TM5051 and TM5052” led him to reach his conclusions.

       Finally, there is no reason for Monroy, or any other witness, to testify that the purpose of

export controls is to protect U.S. national security. Put simply, not every unlawful export case is a

national security case. Here, neither Mr. Yu nor Tricon are charged with exporting any actual

MMICs, and sending GDS files to WIN Semiconductors in Taiwan, the same foundry used by

Analog Devices, Inc. and numerous other U.S. semiconductor companies, did not threaten U.S.

national security, especially where WIN was subject to a strict non-disclosure agreement, already

possessed all the relevant technology, and did not use the files for any purpose other than

manufacturing chips that it returned to Mr. Yu and Tricon. Moreover, the MMICs at issue are

commodity electronic parts that are available around the world at relatively low cost. Like batteries

or screws, MMICs could be used for some military application, but that hypothetical possibility

does not implicate any meaningful concern about national security here. This case bears no

resemblance to United States v. Shuren Qin, 1:18-cr-10205-DJC (D. Mass.) (defendant illegally

exported sophisticated items with applications in anti-submarine warfare to Chinese military

university), or United States v. Sihai Cheng, No. 1:13-cr-10332-PBS (D. Mass.) (defendant

illegally exported specialty parts for gas centrifuges used to produce weapons-grade uranium to

Iranian company involved in nuclear program), in which the defendants were charged (and

ultimately convicted) of exporting military technologies to foreign adversaries, thereby threatening

U.S. national security.

       The obvious reason for the prosecution to trumpet the potential military application of

“dual-use” technologies, such as MMICs, is to unfairly prejudice the jury against Mr. Yu and



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Tricon. Absent evidence that WIN used the charged GDS files for any military purposes, evidence

that MMICs might conceivably be used for such purposes is completely irrelevant, and its

probative value (if any) is substantially outweighed by the risk of unfair prejudice. See Fed. R.

Evid. 401, 403. In a drug prosecution, for example, the prosecution is not permitted to call a DEA

witness to wax eloquent about the history of the drug war and the horrors of heroin or cocaine.

Nor can it call an ICE witness in an illegal re-entry case to talk about the burdens that

undocumented individuals impose on the U.S. economy. A criminal trial must turn on the actual

facts of the particular case, not the underlying policies that may have motivated Congress to enact

the criminal laws in the first place.

        For the foregoing reasons, Defendants Haoyang Yu and Tricon MMIC, LLC respectfully

request that the Court exclude evidence, including testimony by Monroy, about the meaning of the

Export Administration Regulations, the purpose of those regulations, and their purported

application to the MMIC-related “technology” in this case.

                                             Respectfully submitted,

                                             HAOYANG YU and
                                             TRICON MMIC, LLC

                                             by their attorneys,

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Dated: December 14, 2021

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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants on December 14, 2021.

                                              /s/ Daniel N. Marx




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